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                                                                  Exhibit 8
                                            P. Mot. for Summ. J./D.J. Miller Study

                                          Court: S.D. Ill. Case No. 3:21cv540-NJR
                                                                 Pacific Legal Foundation
                                                             555 Capitol Mall, Suite 1290
                                                     Sacramento CA 95814 – 916.419.7111
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